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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,               )
                                     )
     Plaintiffs,                     )
                                     )       CIVIL ACTION NO.
     v.                              )         2:14cv601-MHT
                                     )              (WO)
JEFFERSON S. DUNN, in his            )
official capacity as                 )
Commissioner of                      )
the Alabama Department of            )
Corrections, et al.,                 )
                                     )
     Defendants.                     )

                                  ORDER

    Pursuant to the court’s order of October 14, 2020 (doc.

no. 3024), it is ORDERED that the list of ADOC facilities to

be remediated under Phase 2 of the modified ADA consent

decree as disclosed in the joint statement filed on October

16, 2020 (doc. no. 3029), is confirmed and resolves the

disclosure issue.

    DONE, this the 19th day of October, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
